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 5
                              UNITED STATES DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
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 8
      UNITED STATES OF AMERICA,
 9
                                  Plaintiff,                 No. CR02-38Z
10
      v.
11
                                                              ORDER ON LIMITED REMAND
      MARIO CACHO FIGUEROA,
12
                                  Defendant.
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15         This matter comes before the Court as a result of a LIMITED REMAND Order of the
16   Ninth Circuit Court of Appeals1, pursuant to United States v. Ameline, 409 F.3d 1073 (9th
17   Cir. 2005) (en banc). In accord with the limited remand procedures adopted in United States
18   v. Ameline, the Court must determine whether the Court’s sentencing decision “would have
19   been materially different had the Judge been aware that the Guidelines were advisory.”
20   Ameline, 409 F.3d at 1079. The Court permitted the parties to file supplemental pleadings
21   and to advance sentencing arguments previously barred or deemed “not ordinarily relevant”
22   pursuant to United States v. Booker, 530 U.S. 220 (2005). See Order, docket no. 53.
23         On May 9, 2003, this Court sentenced Defendant Mario Cacho Figueroa to one
24   hundred fifty-one (151) months custody and five (5) years supervised release as a result of
25   his convictions for conspiracy, bank fraud, maul fraud, and wire fraud. See Judgment,
26
           1
            Order of Feb. 11, 2005 in Ninth Circuit Case No. 03-30155, docket no. 52.
     ORDER -1-
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 1   docket no. 197. This sentence was at the top of the applicable Guideline range. The Court
 2   has reviewed all supplemental pleadings and the sentencing factors considered by the Court
 3   prior to the original sentencing. Based on this review, the Court finds that the Court’s
 4   sentencing decision would not have been materially different had the Court known the
 5   Sentencing Guidelines were advisory. The Court continues to believe that the sentence
 6   imposed is appropriate under all the circumstances.
 7          Accordingly, no further hearing is required in this case.
 8          The Clerk is directed to close this case.
 9          IT IS SO ORDERED.
10          DATED this 21st day of February, 2006.
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                                                A
                                                Thomas S. Zilly
                                                United States District Judge
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     ORDER -2-
